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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION


                                                     MDL Docket No. 1:22-md-03035-STA-jay
 IN RE: AME CHURCH EMPLOYEE
 RETIREMENT FUND LITIGATION
                                                     ALL CASES


        ORDER GRANTING JOINT MOTION TO INCREASE PAGE LIMITS
  FOR SYMETRA LIFE INSURANCE COMPANY’S MOTION TO DISMISS BRIEFING

         This matter has come before the Court on the Parties’ Joint Motion to Increase Page Limits

 for Symetra Life Insurance Company’s Motion to Dismiss Briefing. (ECF No. 108.) No party

 opposes the Motion. Upon due consideration of the Motion and finding good cause shown, the

 Court hereby GRANTS the Motion and ORDERS that:

         Defendant Symetra Life Insurance Company (“Symetra”) may file a motion to dismiss

 Plaintiffs’ Consolidated Amended Complaint of up to thirty (30) pages in length, excluding the

 cover page, table of contents, table of authorities, signature block, and certificate of service; and

         Plaintiffs may file a brief in opposition to Symetra’s motion to dismiss of up to thirty (30)

 pages in length, excluding the cover page, table of contents, table of authorities, signature block,

 and certificate of service.

         IT IS SO ORDERED.


                                                s/ S. Thoma Anderson
                                                Hon. S. Thomas Anderson
                                                Chief United States District Court Judge

                                                Date: October 6, 2022
